UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT NEW YORK
 ------------------------------------------------------x

 JA N E D O E 43,
                                                            17 -cv -006 16 -JG K
                           P la int
                                  iff,

 v s.

 JEF F REYEP STEI N , G H I SL A I N E
 M A XW EL L , SA RA H K EL L EN , L ESL EY
 G RO F F , A N D N A TA L YA M A L YSH EV,

                            D efenda nt  .
 -------------------------------------------------------x


        DEFENDANT SARAH KELLEN’S NOTICE OF MOTION TO DISMISS

         P L EA SE TA K E N O TI C E t
                                     h a tupon t
                                               h ea nnexed M em orandum of L a w , a nd t
                                                                                        he

a ccom panying D ecla ra t
                         ion of Joh n E. St
                                          eph enson in supportof Sa ra h K ellen’sM ot
                                                                                     ion t
                                                                                         o

D ism iss, da t
              ed N ov em ber21, 2017 , a nd t
                                            h eexhibit
                                                     sa t
                                                        ta ch ed t
                                                                 h eret
                                                                      o, and in a ccorda nce

w it
   h t
     h esch eduleent
                   ered by t
                           h isC ourt
                                    , D efenda ntSa ra h K ellen, by a nd t
                                                                          h roug h h er

counsel, A lst
             on & B ird L L P , w illm ov et
                                           h isC ourta tt
                                                        h eUnit
                                                              ed St
                                                                  atesC ourt
                                                                           h ouse, 500

P ea rlSt
        reet
           , N ew York, N ew York, a tt
                                      h eea rliesta v a ila blet
                                                               im e, fora n O rderpursua ntt
                                                                                           o

Rule12of t
         h eF edera lRulesof C iv ilP roceduredism issing t
                                                          h ecla im sa ssert
                                                                           eda g a insth er

in t
   h eA m endedC om pla intw it
                              h prej
                                   udice.
D at
   ed:   At la nt
                a , G eorg ia
         N ov em ber21, 2017


                                         B y:/s/Joh n E. St   eph enson, Jr.
                                             Joh n E. St    eph enson, Jr.
                                              (admitted pro hac vice)
                                             Jona t h a n D . P a rente
                                              (pro hac vice forthcoming)
                                             A L STO N & B I RD L L P
                                             1201W estP ea ch t      reeSt reet
                                             At la nt a , G eorg ia 30309
                                             (404) 8 8 1-7 000
                                             joh n.st  eph enson@ a lst   on.com
                                             jona t h an.pa rent   e@ a lst
                                                                          on.com

                                              A lexanderS. L orenzo
                                              A L STO N & B I RD L L P
                                              9 0P a rkA v enue
                                              N ew York, N ew York 10016
                                              (212) 210-9 400
                                              a lexander.lorenzo@ a lst
                                                                      on.com

                                              Counsel for Defendant
                                              Sarah Kellen

To:   C ounselof RecordforA llP a rt
                                   ies
